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STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER
A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO, XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road March 20, 2007
Las Vegas, NV 89121 Invoice No. 359463

For Legal Services Rendered Through February 28, 2007
Thomas J. Allison
Matter No. 34585-00012

Plan and Disclosure Statement

02/01/07 S Cummings .30 Review of BAP and district court local rules
for motion to dismiss requirements.

02/01/07 S Cummings .80 Review of hearing transcripts for motion to
dismiss.

02/01/07 S Cummings .20 Review of Liberty Bank’s motion to intervene.

02/01/07 P Hunt 10.00 Conference with Committee regarding IP appeal

(.6); revise statement of record on appeal
(1.7) participate in conference call regarding
appeals (.9); revise motion to incorporate
Committee comments (4.1); read emails from S.
Freeman and E. Karasik and incorporate comments
regarding same (.6); incorporate record
citations into motion to dismiss IP appeal
(1.2); proof motion'to-dismiss (.6); emails to
Committee regarding same (.1); email to local
counsel regarding filing same (.2).

02/01/07 A Jarvis .30 Correspondence with client regarding
preparation of motion to dismiss.

02/01/07 A Jarvis .30 Correspondence with P. Hunt regarding final
changes to motion prior to distribution.
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02/01/07 Jarvis .20 Telephone conference with E. Karasik
- regarding appeals issues.

02/01/07 A Jarvis .30 Telephone conference with D. Kirby and E.
Karasik regarding possible settlement of DACA
appeal.

02/01/07 Jarvis _80 Draft and revise motion to dismiss insider
appeals and correspondence regarding comments
to same.

02/01/07 A Jarvis .20 Follow-up regarding status of appeals.

02/01/07 A Jarvis .30 Correspondence on finalizing orders.

02/01/07 A Jarvis .30 Draft response to request for extension of
time.

02/01/07 Jarvis .10 Correspondence with P. Hunt on LPG appeal.

02/01/07 M Pugsley .30 Work on identifying handwriting expert (1. S)i

interview candidates (1.8); review and
prepare document to be imaged (2.0).

02/01/07 Strong .50 Review emails from A. W. Jarvis and P. Hunt and
accompanying drafts and revisions of proposed
papers seeking dismissal of IP/Milanowski
appeal of confirmation order (0.4); telephone
conference with J. McPherson regarding
procedures and strategies for dealing with
various | pending appeals (0.6); work on same
(0.5).

02/01/07 Strong .30 Review and analyze A. Smith request for
extension of time on LPG brief (0.3).

02/01/07 C Hurst .70 Assistance with record cites for appendix | to
motion to dismiss insider appeal.

02/02/07 Hunt 00 Participate in Committee conference call

' yegarding transition, sales, and appeal
issues (1.0).
02/02/07 P Hunt .90 Telephone conference with J. McPherson’s office

regarding status of IP appeal motion to dismiss
(.1); work on LPG appeal issues (.2); telephone
conference with A. Hosey regarding IP appeal -
filing of motion to dismiss (.1); read and

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respond to emails regarding IP appeal issues
(.4); telephone calls to J. Chubb regarding LPG
appeal (.1); analyze 1142 issues/USA Commercial
- Mortgage reserves (.2); conference with S.
Smith and A. W. Jarvis regarding same (.2);
telephone conference with A. Hosey regarding IP
motion to dismiss status (.1); follow up with
local counsel regarding issues regarding IP
motion to dismiss appeal (.2); telephone
conference with S. Smith and A. W. Jarvis
regarding implementation issues (.5); read
letter from J. Chubb regarding 2019 statement
issues (.1) correspondence with local counsel
regarding filing IP motion to dismiss and
assignment of case (.2); evaluate request to
‘extend time to file brief in LPG appeal (.1);
check dates to file designation of record in
all appeals (.1); telephone conference with E.
Karasik regarding same (.1); email to
Committees on designation of record issues

(.2).

02/02/07 A Jarvis .30 Correspondence with LPG regarding filing of
appellate briefs.

02/02/07 A- Jarvis .70 Work on updating transition list.

02/02/07 A Jarvis .20 Conference with P. Hunt regarding 2019
statement issues.

02/02/07 A Jarvis .20 Correspondence on updating transition list.

02/02/07 A Jarvis .30 Review e-mail Erom D. Cangelosi and
correspondence regarding same.

02/02/07 A Jarvis | .30 Telephone conference with S. Smith regarding
transition issues. :

02/02/07 A Jarvis . .20 Work on designation of record.

02/02/07 A Jarvis .20 Correspondence regarding appeal.

02/02/07 S Strong .60 Work on motions to dismiss pending appeals of

confirmation order (0.2); review electronic

dockets and email from E. Karasik regarding

same (0.1); formulate debtors strategies for
disposing of appeals (0.3).

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Debtor USA Commercial Mortgage Co., et al. : March 20, 2007
02/05/07 P Hunt 9.00 Compile information needed to prepare

designation of records on appeal (.4);
correspondence with FIDF Committee regarding
same (.1); coordinate with staff regarding
emergency motion to dismiss IP appeal hearing
preparation (.2); research regarding Judge
Pro for emergency motion to dismiss IP appeal
(.5); draft designation of record - pleading
cover sheet (.2); telephone conferences with
J. McPherson regarding LPG appeal issues
(.4); review of local rules on designation
issues (.3); email to J. McPherson regarding
same (.1); compile exhibit 1 to designation
of record, including comparing LPG’
designation with docket and including items
Committee wants included (6.4); telephone
conferences with A. Hosey and L. Dorsey
regarding filing of designation of record

(.4).
02/05/07 A Jarvis _.20 Correspondence on designation of record.
02/05/07 A Jarvis .20 Correspondence on preparation of orders.
02/05/07 A Jarvis 2.70 Prepare counter designation of record for LPG
appeal .
02/05/07 S Strong .40 Review email from L. Dorsey regarding hearing

on emergency motion to dismiss Milanowski
appeal set for tomorrow, and review court
docket regarding same (0.1); review regarding
arguments for hearing tomorrow (0.3).

02/05/07 S Strong 2.00 Assist in preparing debtors
counter-designation of record for LPG appeal of
confirmation order (0.2); review and analysis
of LPGs designation, courts electronic docket
regarding hearings held and transcripts filed,
and prepare list of hearing transcripts needed
for counter-designation (1.8).

02/05/07 C Hurst 2.60 Assist with preparation of binders for 2/7
hearing on Motion to Dismiss Insider Appeal of
Confirmation Order including: identify,
download and index cases cited in memorandum
for hearing binder.
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02/06/07 P Hunt

02/06/07 A Jarvis

02/06/07 A Jarvis

02/06/07 A Jarvis

02/06/07 S Strong

8.70

Read updated transition list and comment on
same (.3); compile materials needed to compile
designation of record regarding DACA appeal |
(.2); correspondence with J. Chubb regarding
2019 statement (.1); obtain J. Chubb’s
supplemental 2019 statement from docket (.1);
instructions to staff regarding hearing binders
and organization of appeal materials (.2);
review initial DACA designation of record on
appeal prepared by FIDF Committee (.5); .
telephone conference with A. Parlen regarding
IP/DACA. designation of record (.1); further
correspondence with J. Chubb regarding 2019
statement issues (.1); review IP designation of
record for preparation of same (.9); coordinate
with local counsel for hearing tomorrow in
motion to dismiss IP appeal (.4) participate in
committee call regarding appeal transition
issues (left early) (.6); create exhibit 1 to
designation of record regarding IP appeal
(2.4); prepare for hearing regarding IP motion
to dismiss (1.2); research regarding
sufficiency of notice of appeal (LPG appeal)
(.6); detailed email to FTDF Committee
regarding IP designation (.4); correspondence
with local counsel regarding filing designation
of record (.3); correspondence with Committees
regarding LPG appeal designation (.2);
correspondence with local counsel to confirm
filing of designation (.1).

Correspondence on request for continuance by
R. Walker.

Analyze issues regarding LPG appeal.

Review cases, documents regarding standing
issues and prepare for hearing on appeal.

Exchange voice messages with R. Walker
regarding tomorrows hearing on emergency
motion to dismiss Milanowski appeal from
confirmation order (0.1); telephone conference
with R. Walker regarding same (0.3).
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02/06/07 S Strong .40 Work on pro hac motion for A. W. Jarvis for

tomorrows emergency hearing on dismissal of
Milanowski appeal of confirmation order
(0.3); exchange emails with local counsel
regarding same (0.1).

02/06/07 C Hurst 1.00 Assist with updated hearing binders for 2/7
Motion to Dismiss.

02/06/07 L Okerlund 2.50 Prepare exhibits for Designations of Record
(2.5). se

02/07/07 P Hunt 11.00 Read cases for hearing regarding IP motion to
dismiss (.3); attend hearing regarding same
(1.0); meeting with Committees regarding
appeal strategy (.5); meeting with A. W.
Jarvis, S. Smith and J. McPherson regarding
appeal issues, matters to’ attend to for
effective date (1.0); email correspondence
regarding status of IP appeal (.4); review
documents regarding motion to dismiss LPG
appeal (.6); review docket regarding same
(.3); draft motion to dismiss regarding same
(1.2); draft correspondence to Committee
regarding IP appeal designation (.3); meéting
with S. Smith regarding LPG appeal, issues
regarding appellants’ identity (.3); draft
motion to dismiss LPG/DACA appeal (4.7);
email to A. W. Jarvis and S. C. Strong
regarding same (.3); email to S. Smith
regarding LPG Appellants (.1).

02/07/07 A Jarvis .50 Prepare for hearing on motion to dismiss
appeals.

02/07/07 A Jarvis 1.50 Hearing on motion to dismiss appeals and
discussions with committees and clients
thereafter.

02/07/07 A Jarvis | .50 Discussion with clients regarding appeals
issues.

02/07/07 A Jarvis .20 Work on IP designation on appeal.

02/07/07 A Jarvis .50 Work on motions to dismiss remaining appeals.
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02/07/07 S Strong

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Review dockets regarding 3 appeals of
confirmation order pending in district court
and todays preliminary hearing regarding IP
appeals (0.2); follow-up regarding results of
preliminary hearing on motion to dismiss IP and
DACA appeals (0.4); review current draft of
motion to dismiss LPG appeal of confirmation
order and research legal issues for same (1.3).

Follow up on P. Hunt Pro Hac Vice applications
(.2); search USDC database for case assignment
of DAC appeal (.3).

Review facts information from S. C. Strong
regarding inclusion in motions to dismiss (.5);
review A. Parlen’s draft of DACA designation
(.5); email to A. Parlen regarding same (.2)
draft cover pleading regarding same (.1); email
to J. McPherson regarding filing same (.1);
finalize designation of IP record on appeal
(.9); email to J. McPherson regarding filing
same (.1); revise motion to dismiss to include
facts on notice of appeal issues (1.2); read
emails from C. Carolyn, E. Karasik, and A. W.
Jarvis regarding DACA/LPG motion to dismiss
(.2); email to Committees regarding motion to
dismiss DACA and LPG appeals (.3); revise
motion to dismiss to single out DACA issues for
motion regarding dismissing DACA appeal (1.9);
include comments of S. C. Strong, A. W. Jarvis,
A. Parlen in motion to dismiss DACA and LPG
appeals (1.1); finalize motions to dismiss DACA
and LPG appeal for filing, including
proofreading and inclusion of final citations
to record (1.7); email to S. C. Strong
regarding filing same (.3); read cases on
sufficiency of notice of appeal regarding
motion to dismiss LPG appeal (1.7); include
notice of appeal issues to motion to dismiss
LPG appeal (1.9).

Correspondence on Bunch appeal.
Correspondence on motion to dismiss IP appeal.

Correspondence on Bunch discovery requests.
Client
Debtor

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Review response to LPG’s motion to extend
briefing schedule.

Correspondence on motions to dismiss.

Revise response to motion to dismiss, review |
cases, add cites to record.

Prepare response to LPG’s motion to extend
time for briefing.

Prepare motions to dismiss LPG and DACA
appeals.

Prepare arguments for hearing on motion to
dismiss and review caselaw regarding same.

Work on motion to dismiss DACA appeal.

Review and edit draft of motion to dismiss DACA
appeal of confirmation order (0.6); research
open factual issues and references for same
(0.9).

Review and analysis of LPG motion to extend
briefing on appeal of confirmation order (0.4);
draft debtors response opposing same and A. W.
Jarvis declaration for opposition (1.3);
prepare exhibits for declaration, and transmit
Opposition and Declaration to local counsel for
filing (0.2).

Exchange emails with J. McPherson regarding
filing and service of Reply in support of
debtors motion to dismiss IP appeal of
confirmation order (0.1); telephone
conference with J. McPherson regarding other
filings tonight and tomorrow relating to
pending confirmation appeals in advance of
tomorrows hearing before Judge Jones (0.3).

Review and make edits to draft motion to
dismiss DACA appeal (1.2); work on exhibits to
same (1.4); transmit motion to dismiss DACA
appeal and multiple exhibits to local counsel
for filing (0.2).
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Prepare for hearing on motion to dismiss IP
appeal (1.0); attend and assist A. W. Jarvis at
hearing regarding motion to dismiss IP appeal
including prehearing conference with R. Walker
and read amended reply (1.5); meeting with 8.
Smith and A. W. Jarvis regarding appeal issues
(.5); analysis regarding IP appeal issues (.1)
read email correspondence regarding DACA and
LPG appeals (.3); analysis regarding same (.3);
emails with J. McPherson regarding appeal
transcripts (.1); emails with S. C. Strong
regarding issues on LPG Appellants (.1).

Prepare for hearing on motion to dismiss IP

appeal.

Argue at hearing on motion to dismiss and
discuss with client afterwards.

Work on appeal pleadings.

Review D. Bunch requests for production of
documents and information received from lL.
Bouck.

Review, edit and finalize Motion to Dismiss
LPG appeal of confirmation order (0.9); work
on exhibits thereto (0.3); send motion and
exhibits to local counsel for filing, and
exchange emails regarding same (0.1).

Ensure proper filing of appellees designation
of record for IP and DACA appeals, motions to
dismiss DACA and LPG appeals, and opposition to
LPGs motion to delay appellate briefing (0.4).

Review and compile Statement of Record on
Appeal filed in IP appeal (0.3); emails to
local counsel regarding service of same on
LPG and DACA appellarits (0.1).

Review statement of issues and record
designation for Bunch appeal (0.1); analyze
and research issues raised by Bunch appeal
(0.3).

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Follow-up regarding courts decision today to
dismiss IP appeal (0.1); Review electronic
dockets in DACA and LPG appeals regarding
hearings scheduled on motions to dismiss those
appeals (0.2).

Review LPGs reply and related declaration of

D. Cangelosi regarding expedited briefing in
LPG appeal (0.2); follow-up regarding Compass
licensing issue raised by Cangelosi Declaration
(0.2); further analysis of MLD licensing issue
(0.2); exchange mails with B. Fasel and J.
Atkinson regarding same (0.2).

Prepare additional Applications for
Permission to Practice in Nevada District for

P. Hunt.

Organize papers to begin review of DACA/LPG
appeals regarding hearing on motion to
dismiss (.5); obtain documents from dockets
regarding motion to dismiss DACA and LPG
appeals (.9); preparation of DACA and LPG
appeal motion to dismiss, including review of
documents and dockets (1.4).

Correspondence on appeals, DACA and LPG
motions.

Attend conference call with Committees
regarding Compass Licensing given D.
Cangelosi declaration (.7); draft statement
of record papers regarding motion to dismiss
DACA and LPG appeals (.8); email to J.
McPherson regarding same (.2); reply to LPG
objection to motion to dismiss appeal (1.1);
email to A. W. Jarvis and S. C.. Strong
regarding D. Cangelosi declaration on
licensing issues (.2).

Correspondence on appeals, motion to extend,
motion to dismiss.

Correspondence on transition agreement with
Compass.

Exchange emails with P. Hunt and A. W. Jarvis
regarding appeals of confirmation orders (.1).

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02/12/07 P Hunt

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A Jarvis 3.
M Pugsley 1.
S Strong

C Hurst 3

L Okerlund 5.

P Hunt 12

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12.50 Draft LPG reply to objection to motion to

dismiss, including dissecting statement of
issues (8.5); read and include A. W. Jarvis’
comments in LPG reply (.9); analyze DACA
statement of issues/confirmation objection
regarding drafting reply to objection to
motion to dismiss appeal (1.7); draft DACA

“reply (1.1); emails to A. W. Jarvis regarding

DACA issues (.3).
Draft reply briefs on motions to dismiss.
Work on transition issues.

Review and edit revised draft of motion to
dismiss DACA appeal of confirmation order
(0.8).

Preparation for 2/14 hearing on Motions to
Dismiss Appeals; (including pulling case cites
and preparing binders; gather, organize, tab
exhibits from I.P. Appeal Motion to Dismiss and
DACA Appeal Motion to Dismiss and facilitate
federal express delivery of exhibits to Las
Vegas) .

Prepare documents for production. Prepare
documents for emergency Motions to Dismiss
Appeals in Lenders’ Protection Group & Debt
Acquisition Company.

Research on motion to dismiss LPG appeal (.2);
read confirmation hearing transcript regarding
motions to dismiss DACA/LPG appeals (1.6);
draft DACA reply (1.9); incorporate cites to
record regarding LPG reply (.6); obtain and

. read LPG objection to motion to dismiss (.6);

revise reply to address LPG objections (.9);
obtain and read DACA objection to motion to
dismiss (.7); revise reply to address DACA
objections (1.9); assist A. W. Jarvis in
preparing for hearing on motion to dismiss
appeals, including finding relevant court
rulings and marking transcripts (2.6); email to.
J. McPherson regarding filing DACA/LPG reply
(.2); conferences with C. Hurst regarding

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02/13/07 A Jarvis

02/13/07 A Jarvis 2
02/13/07 A Jarvis 1.
02/13/07 A Jarvis 6.
02/13/07 B Kotter 2
02/13/07 S Strong

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02/13/07 L Okerlund 7.
02/14/07 P Hunt 4.

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preparing documents for filing, trial books and
copies of exhibits (.5); telephone conference
with L. Dorsey regarding filing replies and
documents needed (.2); further analysis of LPG
objection (.4).

Correspondence on responses to motions to
dismiss.

Prepare reply briefs to motions to dismiss,
review case law regarding same.

Preparation for hearings on motions to dismiss.

Prepare for hearings on motions to dismiss
including review of pleadings, case law and
outlining of arguments.

Legal research on R. 8001 and FRBP3(c). in
connection with reply memo supporting motion to
dismiss appeal (1.8); legal research on ability
to challenge class classifications (1.6).

Telephone, conference with S. Freeman, R.
Charles and M. Levinson regarding loan
servicing issues for post-effective date
entities for retained loans (0.2); review
Plan and Confirmation Order provisions
regarding same (0.2).

Review LPGs response to motion to dismiss
appeal of confirmation order (.3).

Preparation of hearing binders for motions to
dismiss confirmation order appeals and assist
P. Hunt with. exhibits/attachments to replies to
LPG and DACA; work with Schwartzer & McPherson
on issues with electronic transmissions of
attachments. .

Hearing Binder Preparation.

Prepare for hearing regarding motion to dismiss
LPG/DACA appeals (1.5); attend hearing
regarding motion to dismiss (2.8); follow-up
regarding transcript issues for appeal appendix
(.1); conference with J. McPherson regarding
coordination of appeal filing issues (.1).
Client
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March 20, 2007

Prepare for hearings on motions to dismiss.

Arguments on motions to dismiss and
conference with client regarding same.

Analyze appeals, briefing of same.

Correspondence on order on dismissal of IP
appeal. ,

Correspondence on motion for emergency order
regarding subservicing of loans by USACM.

' Review e-mails regarding Del Bunch appeal and

statement of issues and send replies.

Review appellants designation of record in
Bunch appeal and need for cross-designation
(0.2).

Review regarding D. Bunch designation (.1);
compile documents needed to draft LPG Appellate
Brief (.5); review D. Bunch designation of
record and pleadings to complete USA Commercial
Mortgage designation (1.6); draft designation
of record, including pulling items out of
docket to include in exhibit (2.8); email to J.
McPherson regarding filing D. Bunch designation

(.1).

Correspondence on draft order for emergency
motion regarding subservicing of loans,
approval of same.

Correspondence on 1142 motion. -

Analyze appeal issues involving D. Bunch
appeal.

Review statement of issues and designation of
record for Bunch appeal (.2).

Review emails from E. Karasik and A. W.
Jarvis regarding transition issues and need
for second Section 1142 order regarding same
(0.1); review latest list of transition
issues and status of same (0.4).

Client
Debtor

02/15/07

02/16/07

02/16/07

02/16/07 C

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02/19/07 A

02/19/07 A

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02/20/07

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C Hurst

P Hunt

A Jarvis

Hurst

A Jarvis

Jarvis

Jarvis

S Strong

P Hunt

1.40 Prepare cover sheet for Appellee’s Designation
in Bunch appeal (.2); review docket and claims
register for documents for appellees
designation (1.2).

2.30 Review regarding IP appeal order (.3); read
' proposed order dismissing IP appeal drafted by

FTDF Committee (.3); read A. W. Jarvis’ email
regarding same (.1); revise same, including
review and incorporation of trial notes on same
(1.2); email to A. W. Jarvis regarding same
(.2); check DACA/LPG appeal docket regarding
certificate of interested parties filing
deadlines and email to J. McPherson regarding
same (.2).

.30 Correspondence with P. Hunt regarding appeals.

3.80 Work on LPG Appeal Brief to gather materials;
download cases; organize working binder -(1.7);
organize working binders for DACA and Burch
Appeals (2.1). :

.10 Correspondence with J. McPherson regarding
transcript, appellate brief.

.30 Correspondence on 1142 Motion.

2.30 Review 1142 order and plan and provide
comments to client regarding same.

.20 Follow-up with E. A. Monson regarding
transition and Plan effective date issues (.2).

12.00 Follow-up on 1142 implementation motion (.1);
read emails regarding same (.3); read and
comment on FTDF 1142 motion (1.5); review 1142
motion (.5); incorporate items from Debtors’
1142 motion into FIDF draft (.9); read emails
regarding 1142 motion issues (.3); revise FTDF
1142 motion to correct errors, neutralize,
incorporate plan and confirmation order
provisions and add information about
implementation of plan as to other debtors

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S Strong

02/20/07 S Strong

02/20/07 C Hurst

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(5.7); incorporate A. W. Jarvis’ comments into
Debtors’ 1142 motion (2.2); finalize and
redline revised 1142 motion for circulation to
Committees (.4); email to Committees regarding
game (.1).

02/20/07 A Jarvis .80 Further revisions to Section 1142 motion.

02/20/07 A Jarvis .60 Revise Section 1142 Motion, review of plan
regarding same, and correspondence with P.
Hunt regarding same.

02/20/07 A Jarvis .50 Correspondence on renewed motion for stay and
request for expedited hearing.

02/20/07 A Jarvis .90 Revise 1142 motion.

02/20/07 A Jarvis .40 Review and comment on response to motion to
expedite hearing on stay.

02/20/07 S Strong .00 Further analysis of transition issues and

- ‘revised draft of second motion under Section

1142 (0.5); analysis of intercompany claim
issues for same (0.5).

02/20/07 .30 Review email from K. Darby regarding LPGs

request to shorten time on a new motion for
stay of confirmation order to be filed, and L.
Schwartzers response to same (0.2); review new
motion for stay just filed (0.3); review
related OST papers filed by K. Darby (0.3);
email to A. W. Jarvis and L. Schwartzer
regarding inaccuracies in same (0.3); exchange
emails with L. Schwartzer regarding same (0.1);
review L. Schwartzers response to LPGs
inaccurate OST papers and emails from A. W.
Jarvis and P. Hunt regarding same (0.1).

Participate in telephone conference with A.
W. Jarvis, E. A. Morison, T. Allison and S.
Smith to report on status and coordinate
efforts on transition and post-effective-date
issues (.9).

Receipt, review of CDs from Mesirow of
electronic files in response to Bunch
request; memo to BE. A. Monson regarding same.

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02/20/07 L Okerlund

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P Hunt

A Jarvis

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A Jarvis

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Print and review documents sent by L. Dorsey
and prepare same for upcoming hearings.

Read email from S. Smith regarding 1142 issues
(.1); respond to same (.1); read emails from
Committee regarding same (.2); prepare for
conference call on same (.4); conference call
with Committee regarding 1142 motion and LPG
appeal issues (1.3); conference with S. Smith,
A. W. darvis, and S. C. Strong regarding appeal
issues (.1); incorporate Committee comments
into 1142 motion including review of emails
with proposed changes sent after call (3.7);
incorporate A. W. Jarvis’ changes regarding
same (.7); draft emails to E. Karasik and
Committees regarding same (.3); telephone
conference with E. Karasik regarding same (.1);
read first part of LPG motion for stay pending
appeal (.6); read email and redline comments of
EB. Karasik regarding 1142 motion (1.0); read
email from G. Garman and make his suggested
changes regarding same (.3); read email from M.
Levison and make his suggested changes
regarding same (.1); read draft memorandum from
A. W. Jarvis to E. Karasik and comment on same
(.1); read L. Schwartzer emails and respond to
same regarding OST on 1142 motion (.2); draft
summary of 1142 motion for OST motion (.5);
incorporate E. Karasik’s changes to 1142 motion
as modified by A. W. Jarvis (.4); email to
Committees regarding 1142 motion and to 8.
Freeman regarding same (.1).

Discussion with clients regarding 1142 motion.

Draft revisions to proposed 1142 motion and
review comments from Committee.

Revise 1142 motion, review and comment on
committee comments.

Telephone conference with E. Karasik

- regarding comments on 1142 motion.

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‘Draft explanation of parts of 1142 order to
M. Levinson.
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02/21/07 A Jarvis .50 Draft additional changes to 1142 order and
correspondence with P. Hunt regarding
revisions negotiated with E. Karasik.

02/21/07 A Jarvis .40 Revisions to 1142 motion, filing issues, OST.

02/21/07 EB Monson .90 Participate in portions of conference call
with committee counsel regarding 1142 motion

-and transition issues.
02/21/07 S Strong .40 Review and edit revised draft of second motion
- yegarding Plan implementation (0.4).

02/21/07 S Strong .20 Telephone conferences with 8. Smith, A. W.
Jarvis and P. Hunt regarding appellate issues
and transition issues (.2).

02/21/07 S Strong .20 Review additional papers filed by LPG in
connection with second motion for stay
pending appeal of confirmation order (.2).

02/21/07 C Hurst .90 Facilitate preparation of Response to Request
forms by Bunch. :

02/22/07 P Hunt .00 Read email from Committee counsel regarding

1142 issues (.1); email to Committee group
regarding filing same (.1); read transcript of
ruling in IP appeal and incorporate into
proposed order to dismiss (.9); arrange to file
1142 motion (.5); correspondence with M.
Levinson regarding same (.1); read appellate
brief outline regarding LPG appeal drafted by
A. Parlen (.5); telephone conference with A.
Parlen regarding LPG brief issues (.1); send
background documents to A. Parlen regarding LPG
brief (.3); analysis regarding stay issues
(.3); conference with S. C. Strong and S.
Smith regarding segregated funds claimed by S.
Smith (.4); read LPG motion for stay (1.1);
review 2019 information for LPG and JV
appellants (.3); review prior stay papers filed
by LPG and Debtors regarding response to LPG
stay motion (.9); review distribution -
motions/orders regarding analysis of funds to
be stayed by LPG (.6); draft letter to A. Smith
and J. Chubb regarding information needed for
stay pending appeal motion (2.3); emails with
local counsel regarding filing 1142 motion
(.1); read emails from F. Merola and C. Pajak

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A Jarvis ~10

A Jarvis -20

Jarvis 30

E Monson -50

S Strong 1.00

P Hunt 13.80

regarding issues related to LPG stay motion
(.3) further correspondence with A. parlen
regarding LPG brief issues (.1).

Correspondence with J. McPherson regarding
1142 order, budget.

Follow-up on status of 1142 motion and
correspondence with M. Levinson regarding
filing of same.

Work on response to motion to stay.

Work on identification of issues on LPG’s
motion to stay.

Review proposed letter-to A. Smith and
comment on same.

Work on response on motion for stay,
substantive brief on LPG appeal and
correspondence regarding same.

Review 1142 motion and analyze transition
issues. :

Analyze factual and legal issues raised in LPG
appeal of confirmation order and second motion
for stay pending appeal (0.6); telephone
conference with S. Smith and P. Hunt regarding
factual issues raised by second motion for stay
(0.4).

Conference call with Committee regarding LPG
motion for stay (.5); incorporate A. W. Jarvis
and §. Smith comments in letter to A. Smith and
J. Chubb regarding motion for stay (1.7);
telephone conference with S. Freeman regarding
game (.1); read transcript of district court
hearing on motion to dismiss to incorporate
same into response to stay motion (1.1); revise
letter with S. C. Strong comments (.7); email
to Committees regarding A. Smith and J. Chubb
letter (.1); read Committee comments regarding
same (.3); incorporate Committees comments
regarding same (1.1); draft facts regarding
response to LPG stay motion, including review
of documents/docket to include description of

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USA Commercial - Mortgage Co., et al.

A Jarvis

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B Kotter

D Monson

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in same (6.1); draft arguments regarding
2019(a) issues, request to stay fund with no
interest (2.1).

Review regarding comments on opposition to
motion to stay, proposed letter to A. Smith.

Review and comment on proposed letter to A.
Smith regarding information on interest in
funds seeking to be stayed.

‘Correspondence on proposed letter to A. Smith.

Correspondence with committees on
transcripts, appellate briefs.

Correspondence on proposed letter to A. Smith.

Correspondence on proposed findings of fact
on motion to stay.

Correspondence regarding draft of appellate
brief, process of revisions to same.

Work on opposition to motion.to stay, appellate
brief.

Legal research on automatic stay provisions
in 9th circuit for S. C. Strong.

Discussion with A. Jarvis on budget
preparation for post-effective date work for
USA Commercial Mortgage and First Trust Deed
Fund estates (0.2).

Review notes from meeting at USA’s offices
and put together list of things to do and
send e-mail to A. W. Jarvis and review reply.

Analyze issues raised by LPG’s second motion
for stay pending appeal of confirmation order
(0.8); review and comment on drafts of proposed
letter to LPG counsel regarding stay issues
(0.2).

Review motion to stay.

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02/23/07 L Okerlund 7.00

02/24/07 P Hunt 14.90

02/24/07 A Jarvis 8.30

02/24/07 B Wride 4.20

02/25/07 P Hunt 11.10

Prepare hearing binders and pull cases for
Motion for Limited Stay Pending Appeal
scheduled for March 1, 2007.

Draft response to motion for stay in LPG appeal
(arguments regarding stay pending appeal
Standards (including reading cases related to
same and incorporating in brief) and bond
issue) (10.6); re-read relevant portions of
disclosure for response to stay motion (.6);
incorporate relevant portions in facts (.6);
correspondence with A. W. Jarvis regarding same
(.3); incorporate A. W. Jarvis comments
regarding same. (2.7); email to Committees
regarding circulation of same (.1).

Work on response to motion to stay and
appellee brief in LPG appeal.

Review draft of brief of appellees (1.5);
review opening brief of LPG (2.3);
correspondence with A. Jarvis (.2); research
regarding appellate rules (.2).

Correspondence regarding coordination of
appellate brief writing on LPG appeal (.3);
compile documents necessary to review LPG
appellate brief (.3); insert relevant portions
of record and comments of S. Freeman into facts
regarding LPG stay motion reply (2.0); read
and analyze LPG appeal brief draft by FIDF
committee (1.1); conference with A. W. Jarvis,
B. D. Wride, E. Karasik, and A. Parlen
regarding LPG appellate brief (.7); email to A.
W. Jarvis and B. D. Wride regarding same (.1);
read confirmation transcript regarding addition
of facts to LPG stay response (1.0); insert
facts in transcript to brief (1.0); read S.
Freeman's memorandum on stay motion issues
(.5); incorporate S. Freeman’s comments into
stay motion response (1.4); draft argument on
modification to plan regarding LPG stay
response (.6); read LPG appeal brief facts
(1.0); read documents referred to by LPG in
brief and research on docket regarding same
(.5); Graft outline of S. Smith Declaration
(.5); email to S. C. Strong regarding same

(.1).
Client
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A Jarvis

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Work on appellate brief on LPG appeal.

Work on response to motion to stay and
appellee brief in LPG appeal.

Telephone conference with E. Karasik and A.
Parlan, B. D. Wride and P. Hunt regarding
appellate brief in LPG, response to motion to
stay.

Review Del Bunch requests for: production of
documents and documents to be produced.

Conference call regarding appellate brief (.7);
review correspondence (.2); review opening
brief of LPG (1.1).

Read emails from Committee counsel regarding
comments on stay motion response (.6);
conference with A. W. Jarvis and Committee
counsel regarding LPG bond and stay issues
(.7); meeting with A. W. Jarvis, S. Freeman,
and B. D. Wride regarding LPG appellate brief
issues (.4); incorporate Committee counsel
comments into LPG stay motion response (3.1);
detailed emails to local counsel regarding
coordination of efforts in filing response to
LPG stay motion and motion for overlength brief
(.3); coordination with A. Parlen on LPG brief
appendix, including reading and responding to
emails. from A. Parlen (.4); review S. Smith
Declaration and bond issues (.2); coordination
of work assignments with S. Freeman and FTDF
Committee on LPG appeal issues (.2); email to
S. Freeman regarding stay motion response (.1);
read cases to include in LPG stay response
brief (1.5); further revisions to LPG stay
response brief based on discussions and
comments of Committee and A. W. Jarvis (3.0).

Revise response to motion to stay and
appellee brief regarding LPG appeal.

Telephone conference with M. Levinson
regarding concerns with appellate brief,
results of mediation.
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A Jarvis

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Telephone conference with 9th Circuit clerk
regarding form of appendix on appeal.

Telephone conference with District Court
Clerk regarding form of appendix on appeal.

Follow-up regarding form of appendix on appeal.
Correspondence on reserves under Plan.

Telephone conference with M. Levinson
regarding appellate briefs.

Analyze issues in brief.

Conference call with Committees regarding
response to motion to stay and appellee brief
on LPG appeal.

Conference call with S. Freeman, B. D. Wride
and P. Hunt regarding comments on appellate
briefs.

Evaluate comments on appellee brief on LPG
appeal.

Correspondence on 1142 motion.

Revise response to motion to stay and
appellee brief on LPG appeal.

Legal research in connection with motion to

dismiss appeal on Rule 2019 theories (1.3).

Review budget submissions from S. Smith for
Reserve Disclosure for Second Motion to Enforce
Plan (0.2); review A. Jarvis and B. Wride
e-mails on budget estimates for Reserve
Disclosures (0.1).

Conference with T. Allison, S. Smith and A.
W. Jarvis regarding transition issues.

Review various e-mails on transition issues.

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02/26/07 S Strong

02/26/07 S Strong

02/26/07 B Wride

02/26/07. Okerlund

02/27/07 P Hunt

02/27/07 A Jarvis
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' 02/27/07 A Jarvis

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Analyze arguments for debtors opposition brief
to LPG second motion for stay pending appeal of
confirmation order (0.2); review prior
declarations regarding confirmation and stay
issues (0.5); review and analysis of incomplete
Rule 2019 statements of LPG and JVDLs (0.6);
work on first draft of S. Smith declaration for
debtors opposition to second motion for stay
(1.4); email draft of same to S. Smith with
questions (0.2).

Work on arguments and documents for debtors
responsive brief in LPG appeal (0.2); review
and analysis of prior documents relevant to
facts and arguments for appellate brief (0.6).

Work on appellate brief.

Prepare transcripts regarding USA Investment
Partner's Appeal.

Review and comment on S. Smith declaration and
amend same (1.7); revisions to response to stay
motion to incorporate A. W. Jarvis comments
before circulating to Committee (3.4);
incorporate S. Smith declaration facts into
response (2.1); research on 2019 and stay
standards (.2); read comments from Committee
regarding response to stay motion (.5);
incorporate Committee comments into response to
stay motion (2.9); read 2019(b) cases (1.1);
evaluate response and LPG appeal issues (.5);
email to Committees regarding stay response
issues (.2); incorporate A. W. Jarvis final
changes to brief (1.4); research on bond {.5);
incorporate same into stay response (.4); fix
footnotes, cross references and references to
the record in LPG stay motion response, and
begin proof of same (1.0).

Correspondence on reserves, Reserve
Disclosure.
Correspondence with A. Landis regarding 1142

motion.

Further correspondence on Reserve Disclosure.

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02/27/07 A Jarvis

02/27/07 B Kotter

02/27/07 B Kotter

02/27/07 D Monson

02/27/07 BE Monson

02/27/07 S Strong

02/27/07 S Strong’

12.10

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Revise response to motion to stay and revise
appellee brief on LPG appeal.

Review and analyze estimated professional fee
and allocation amount Debtors (.4); e-mail
exchange with A. W. Jarvis regarding reserve
amounts (.2).

Work on memorandum opposing emergency motion
for stay.

Review sections of Second Motion to Implement
Plan for required Reserve Disclosures (0.3);
prepare draft of Reserve Disclosures (0.4);
review revised spreadsheet from S. Smith on
estimates for various reserves for Reserve
Disclosures (0.2); conference with A. Jarvis
and S&S. Smith on estimates for various reserve
amounts for Reserve Disclosures (0.4); review
e-mails from First Trust Deed Fund Committee

attorney on separate Reserve Disclosures (0.2).

Review e-mail from L. Schwartzer regarding D.
Bunch appeal and send reply and review reply
from P. Hunt (.3); work on responses to D.
Bunch requests for production of documents
(1.0).

Review and edit current draft of debtors
opposition to second motion for stay pending
appeal of confirmation order (0.7); analysis of
evidence and facts in support of confirmation
and in opposition to stay motion (1.2).

Continue work on S. Smith declaration in’
support of Debtors opposition to second
motion for stay pending appeal of
confirmation order (1.9); email to S. Smith
regarding current draft and open issues
(0.2); review S. Smith comments to same
(0.2); telephone conference with S. Smith
regarding facts for her Declaration (0.2);
make further revisions to S. Smith
Declaration (0.8); transmit near-final draft
to S. Smith with comments for review (0.2).
Client
Debtor

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02/27/07

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B Wride

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Analysis of Compass APA, Plan, Confirmation
Order, and Plan Implementation Motion and
conditions to Effective Date of Plan (1.4).

Confer with A. W. Jarvis regarding issues for
Debtors Reserve Disclosure for plan
implementation motion (0.2); analysis of
reserve issues (0.4); review and edit Notice of
Reserve document (0.2); review emails from A.
W. Jarvis, S. Smith, D. M. Monson and J.
McPherson regarding same (0.2); review FTDFCs
Notice of Reserve document (0.3).

Work on appellate brief.

Assist with Bunch response to request for .
production.

Review draft of objection to LPG motion to
stay and insert cite references.

Finalize response to motion for stay for
filing, including drafting 2019(a) argument,
cross references, editing table of
contents/authorities, inserting last facts from
S. Smith Declaration (3.0); email to S. Freeman
regarding response to motion for stay (.1);
emails to J. McPherson regarding filing
response (.2); conference with local counsel
staff regarding LPG appeal appendix (.1);
review A. Parlen’s appendix list, and determine
what to include in appendix based on items
included in Appellant's appendix and items
cited in brief (1.5); compile documents
regarding hearing on 1142 motion and stay
hearing (.4);determine what portions of
transcript to include regarding LPG appeal
(.3); correspondence regarding LPG motion to
continue (.2); conference with Committees
regarding motion to continue (.4); conference
with A. W. Jarvis and K. Darby regarding motion
to continue (.1); read and comment on appellate
brief (2.1); prepare for hearing on motion to
stay (.8); prepare for 1142 hearing (.5);

’ correspondence with Committee counsel regarding

appellate brief (.5).
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Debtor

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A Jarvis

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Correspondence regarding questions and
comments on appellate brief.

Correspondence on 1142 motion.
Work on appellate brief.

Correspondence with committees regarding
comments on appellate brief.

Correspondence with committees regarding LPG
request for continuance.

Conference with Committees regarding LPG
request for continuance.

Revise appellate brief.
Correspondence on comments to appellate brief.

Telephone conferences with K. Darby regarding
request for continuance.

Continued work on memo in opposition to
emergency motion to stay (1.8); work on
appeal brief (.4).

Work on final revisions to Debtors opposition
to second motion for stay pending appeal of
confirmation order (1.7).

Work on final edits to S. Smith declaration
opposing second motion for stay pending
appeal (1.2); telephone conference with S.
Smith regarding same (0.2); exchange emails
with S. Smith regarding same (0.2); transmit
game to local counsel with instructions for
filing (0.1).

Analysis of LPGs opening brief and current
draft of Debtors responsive brief (1.2).

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02/28/07 S Strong 2.10 Final edits and arguments for Debtors

responsive brief in LPG appeal (0.5); research ©
regarding additional case law authority for LSA
transfer section of Debtors brief (0.4); email
to B. D. Wride with insert to brief regarding
same (0.1); work on final editing and
preparation of Debtors brief (1.1).

02/28/07 B Wride 19.90 Finalize and file appellees’ brief with
district court. ‘

02/28/07 C Hurst 4.10 Prepare exhibits to Opposition to LPG Motion
for Stay Pending Appeal for electronic
filing; assist with pulling case cites for
hearing binders (3.2); assist with LPG Appeal
Brief/Appendix (.9).

TOTAL FOR LEGAL SERVICES RENDERED $148,315.50
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STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER
A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road March 20, 2007
Las Vegas, NV 89121 Invoice No. 359464

For Legal Services Rendered Through February 28, 2007

Thomas

Matter No.

J. Allison

Tax Issues

02/01/07

02/02/07

02/05/07 K

02/05/07

02/06/07 K

02/13/07

02/15/07

02/16/07

K Applegate

K Applegate

Applegate
A Jarvis

Applegate

K Applegate

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K Applegate

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Work on completing the 2006 tax returns.

Discussions with KPMG on the engagement letter
(.5); contact other accounting firms to
determine if their engagement letters contain
indemnification language (.6); review and
respond to e-mails on issue (.4).

Work on removing indemnity language.
Correspondence on KPMG retention.

Telephone conference with KPMG and Mesirow on
the tax returns and memorandum.

Discussions with KPMG on.preparing the tax
returns and K-1 information needed (.3);
telephone call from Hartley (.1). ,

Respond to request from KPMG on completing
the taxes.

Telephone calls with KPMG on documentation
(:1); discuss status of closing with
attorneys (.2).

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Debtor USA Commercial Mortgage Co., et al. March 20, 2007
02/22/07 K Applegate .20 Telephone calls and e-mails on tax issues to
USACM .

02/23/07 K Applegate 1.40 Extended telephone conference with Mesirow and
KPMG on the taxes (.7); follow-up calls with
KPMG (.2); review IRS tax claims (.5). —

02/23/07 S Strong 1.50 Analyze IRS claims and possible basis for same
(0.4); review and analyze various proofs of
Claim filed by IRS against USACM and possible .
grounds for same (1.0); .exchange emails with S.
Smith regarding same (0.1).

02/28/07 K Applegate 2.50 Telephone conference with KPMG in preparation
for telephonic conference (.4); review e-mail
on expenses and research law (1.1); telephone
conference with KPMG and Susan (.4); additional
telephone calls with KPMG on restructuring
costs (.2); review of statute (.4).

02/28/07 B Kotter 1.20 Review and legal research regarding regulations
related to capital v. ordinary expenses (1.2).

TOTAL FOR LEGAL SERVICES RENDERED $3,158.00
